

People v Urena (2023 NY Slip Op 50981(U))



[*1]


People v Urena (Milton)


2023 NY Slip Op 50981(U)


Decided on September 18, 2023


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on September 18, 2023
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, James, JJ.



571085/18

The People of the State of New York, Respondent,
againstMilton Urena, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Robert G. Seewald, J.H.O.), rendered June 26, 2018, convicting him, upon his plea of guilty, of aggravated unlicensed operation of a motor vehicle in the third degree, and sentencing him to a fine of $300.




Per Curiam.
Judgment of conviction (Robert G. Seewald, J.H.O.), rendered June 26, 2018, affirmed.
The Driver's License Suspension Reform Act, which amended Vehicle and Traffic Law § 510(4-a) to remove the failure to pay a fine as a basis for the suspension of a driver's license, was enacted after defendant's conviction and does not mandate reversal of the judgment convicting defendant of aggravated unlicensed operation of a motor vehicle in the third degree (see People v Onwuanaibe, 76 Misc 3d 132[A], 2022 NY Slip Op 50910[U][App Term, 2d Dept, 2nd, 11th &amp; 13th Jud Dists 2022], lv denied 39 NY3d 964 [2022]). To the extent that defendant argues that this Court should reverse the judgment of conviction in the interest of justice pursuant to CPL 470.15(3)(c), we find that this case is not one of those "rare and unusual case[s] [that] cries out for fundamental justice beyond the confines of conventional considerations" (People v Williams, 145 AD3d 100, 107 [2016]), particularly given that defendant's license was suspended for failure to pay child support and a drug conviction, in addition to unpaid fines. 
Although the record does not establish a valid waiver of defendant's right to appeal, we perceive no basis for reducing the sentence.  
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: September 18, 2023









